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                          UN ITED STATES D ISTRICT COU RT
                          SOUTH ERN D ISTRICT OF FLOR IDA
                                  M IA M ID IVISION
                      CaseN o.22.CR.20209.COOK E/D AM 1A N



  U N ITED STA TES OF AM ERICA ,
  VS.

  RICARD O ROD RIGU EZ.OTERO ,
               Defendantts).

                                         O R D ER

        THIS CAU SE cam ebeforethe Courtupon the United States ofAm erica'sore tenus

  M otion to UnsealtheIndictm entand record in theabove-captioned case in lightofthe arrest

  of the D efendant,Ricardo Rodriguez-otero.The M otion was m ade and p anted in open

  C ourton June 1,2022.

        Accordingly,itishereby

        ORD ERED AN D AD JU D GED thiscaseisUN SEA LED .

  D ON E AN'
           .
           D O RD ERED in ChambersatM iam i,Floridathis2nd day ofJune,2022.




                                          M ELISSA D AM IAN
                                          U N ITED STA TES M A G ISTM TE JU D GE
